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                          IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                          :

                  v.                              :       CRIMINAL NO. 16-130-1

CHARLES M. HALLINAN                               :



     GOVERNMENT’S MOTION TO PRECLUDE DISCLOSURE OF WORK-PRODUCT

        The United States of America, by and through its attorneys, William M. McSwain,

United States Attorney for the Eastern District of Pennsylvania, and Maria M. Carrillo, Mark B.

Dubnoff, and James A. Petkun, Assistant United States Attorneys for the District, moves to

preclude the disclosure of government materials as irrelevant and work product, and in support,

submits the following.

I.      THE FORFEITURE HEARING ON 4/6/18 AND THIS COURT’S ORDER FOR
        PRODUCTION OF MATERIALS

        On April 6, 2018, a forfeiture hearing was held before this Court. Government witness

Joseph Piccione, a Litigation Financial Analyst at the United States Attorney’s Office, testified at

the hearing as to his financial analyses pertaining to Properties #14 to #21. During cross-

examination, defense counsel requested the production of materials which Mr. Piccione

referenced during his testimony. This Court granted the request as to two categories of materials,

subject to privilege assertions and relevancy determinations: 1 (1) A list of what Mr. Piccione was

told by the government prosecutors were enterprise entities, Tr. 4/6/18 at 118; and (2)

spreadsheets of the enterprise proceeds or funds “put into” the “HCC” (Hallinan Capital Corp.)


        1
            Citations are to the transcript of the forfeiture hearing.
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accounts referenced in paragraph 9 of Mr. Piccione’s affidavit (“HCC Accounts”) 2. The Piccione

affidavit is government’s exhibit #2500. Tr. 4/6/18 at 110-116, 118.

       Following the Court’s order, the government prosecutors spoke to Mr. Piccione who

explained that the list of enterprise entities upon which he relied was the enterprise entities

identified in the superseding indictment, and before that, the indictment, the restraining order, the

affidavit, and perhaps a draft. The government informed counsel of this on Monday, April 9,

2018, during a telephone conference in which the prosecutors also stated that the government

would be filing this motion to preclude the production of the spreadsheets based on a relevancy

objection and work-product protection.

II.    THE SPREADSHEETS ARE NOT RELEVANT TO THE GOVERNMENT’S
       FORFEITURE THEORY FOR THE SPECIFIC PROPERTIES OR THE MONEY
       JUDGMENT

       The spreadsheets ordered to be turned over are draft analyses of enterprise proceeds and

funds which flow into the HCC Accounts. As set out in great detail in the government’s Motion

for Preliminary Order of Forfeiture (“POF Motion”) (and its Reply Brief to the defendant’s

response to the POF Motion), it is seeking a money judgment of over $490 million for the

amount of enterprise proceeds pursuant to section 1963(a)(3). As Mr. Piccione testified, the

movement of enterprise proceeds made the tracing of these proceeds extraordinarily difficult,

and accordingly, the government is seeking the forfeiture of substitute assets in order to satisfy

the money judgment.

       The government is also seeking forfeiture of enterprise property under a different prong,

and theory, of RICO forfeiture, section 1963(a)(2). This enterprise property includes Properties



       2
                There are many HCC bank accounts which were part of the main case and also
the forfeiture hearing. However, for this motion, the government is referring to the specific
accounts at issue here as the “HCC Accounts.”
                                                  2
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#1-#13 which were funds in enterprise bank accounts that were discovered and restrained. The

forfeitable enterprise property also includes enterprise property or funds which were traced to

their destination in personal property or accounts, and restrained. These are Properties #14-#21.

These Properties are not proceeds as the term is used in section 1963(a)(3). Although tracing is

used to follow enterprise property (which are funds), that does not mean the enterprise property

is enterprise proceeds.

       The government’s POF Motion (and its Reply Brief) clearly explains why such Properties

are forfeitable under section 1963(a)(2). POF Motion at 15-26. Section 1963(a)(2) renders any

interest of the defendant in the enterprise forfeitable to the government. The funds within an

enterprise account are property of the enterprise, and the defendant’s interest in these funds is

accordingly forfeitable. The government has submitted evidence that the defendant was the

100% owner of nearly all of the enterprise entities, and as such, his interest is forfeitable to the

government. 3

        Properties #1-#13 are all enterprise property or funds within enterprise accounts and the

government’s position is that they are all forfeitable under this section of RICO forfeiture. When

these funds are moved from the enterprise accounts, they remain enterprise property, and if they

are traced to their destination, the government can forfeit them. Properties #14-#21 are all

property which was traced from enterprise accounts and are all forfeitable under section

1963(a)(2). See POF Motion at 15-26.

       Under this theory, the source of the enterprise account funds is irrelevant; once they are

in an enterprise account, they are enterprise property. For this reason, the inflow to the HCC




       3
               The government will ask the Court to make findings as to the component parts of
the Hallinan Payday Lending Enterprise (“HPDLE”).
                                                  3
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Accounts is not relevant, but the outflow is. Simply because Mr. Piccione was tasked to analyze

the inflow at one time, does not render this analysis relevant to his testimony. The government

has not offered into evidence, nor does it rely on, any analyses of the inflow to the HCC

Accounts for forfeiture of the specific properties or as a basis for the money judgment. 4

       Fed. R. Evid. 401 defines relevant evidence as evidence that “tends to make a fact of

consequence more probable or less probable,” and Fed. R. Evid. 402 provides that “[e]vidence

which is not relevant is not admissible.” For the reasons described above, the draft spreadsheets,

and the information they contain, are simply not relevant, not admissible, and therefore need not

be turned over.


III.   THE MATERIALS ARE PROTECTED BY THE WORK-PRODUCT DOCTRINE
       AND THE DEFENDANT CANNOT SHOW A SUBSTANTIAL NEED FOR THEM

       It has long been recognized that a qualified privilege exists for certain materials prepared

by an attorney who is acting in anticipation of litigation. Hickman v. Taylor, 329 U.S. 495, 508

(1947). The privilege, referred to as the work-product doctrine, prevents intrusion into the

“proper preparation” of a case that necessarily requires that an attorney “assemble information,

sift what he considers to be relevant from the irrelevant facts; prepare his legal theories and plan

his strategy without undue and needless interference.” Id. at 512. Although most often asserted in

civil litigation, the doctrine serves to assure the proper functioning of the criminal justice system

as well by encouraging “thorough preparation and presentation of each side of the case.” United

States v. Nobles, 422 U.S. 225, 238 (1975). It also promotes the adversary system by protecting

the confidentiality of papers prepared by or on behalf of an attorney and by allowing attorneys to



       4
               The defendant is free to argue that the absence of this evidence affects the
government’s ability to prevail, however, the government’s position is that this evidence is not
necessary for any of its theories.
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prepare cases without fear that the information could be used against their clients. Westinghouse

Elec. Corp. v. Republic of Philippines, 951 F.2d 1414, 1428 (3d Cir. 1991), citing Hickman v.

Taylor, 329 U.S. at 510-511. The doctrine extends to agents of the attorney, and it likewise

protects material prepared by those agents. Id.

        Rule 16 of the Federal Rules of Criminal Procedure includes provisions codifying the

work-product protection for pretrial discovery in criminal proceedings. The rule provides in

pertinent part that as to the government, “this rule does not authorize the discovery or inspection

of reports, memoranda or other internal government documents made by the attorney for the

government or other government agents in connection with the investigation or prosecution of

the case . . . .” Fed. R. Crim. P. 16(a)(2). The protection extends to the trial stage of the litigation

process, as well as the pretrial stages. Nobles, 422 U.S. at 239.

        The party asserting the protection must show that the materials at issue were prepared in

anticipation of litigation. Once a prima facie showing is made that the materials are work-

product, the burden of proof shifts to the party seeking disclosure. Appeal of Hughes,

633 F.2d 282 (3d Cir. 1980); Kent Corp. v. NLRB, 530 F.2d 612, 623-24 (5th Cir.), cert. denied,

429 U.S. 920 (1976); In re Natta, 410 F.2d 187, 193 (3d Cir.), cert. denied, 396 U.S. 836 (1969);

Republic Gear Co., v. Borg-Warner Corp., 381 F.2d 551, 558 (2d Cir. 1967). To justify the

production of such material, a party seeking its disclosure must show a substantial need for the

information. Hickman, 329 U.S. at 508-09.

        Here, the spreadsheets requested were prepared in anticipation of litigation. Mr. Piccione

is a Litigation Financial Analyst who assists the U.S. Attorney’s Office in forfeiture matters

related to the prosecution of cases. Gov. Exh. #2500, paragraph 1-6. His work on this case was

the analysis of the financial accounts related to Charles Hallinan and his Payday Lending



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business which included tracing of proceeds and other funds into and out of the enterprise

accounts to their ultimate destination to assist the government in its pursuit of forfeiture. 4/6/18

Tr. at 55-56. Since the time of the restraining order which closely followed the indictment,

forfeiture has been a part of this prosecution.

       The spreadsheets ordered to be disclosed are draft spreadsheets, and consist of Mr.

Piccione’s analyses of deposits into the HCC Accounts. Gov. Exh. #2500. Because these

spreadsheets were prepared as part of his work on the forfeiture investigation, there is no doubt

that they were created in anticipation of litigation and are protected work-product.

       The defendant must now show that he has a substantial need for the materials. Hickman,

329 U.S. at 511 (“[W]here production of facts is essential to the preparation of [the] case,

discovery may be properly had.”); Kent, 530 F.2d at 623-24 (when the claim of work-product is

prima facie valid, the burden shifts to the party seeking discovery to show substantial need and

an inability to obtain the material by other means); Natta, 410 at 193 (burden of demonstrating

good cause is on the proponent of disclosure); Republic Gear, 381 F.2d at 558 (discovery denied

where materials were merely helpful not essential to the adverse party in the thorough

preparation of the case). See also, Appeal of Hughes, 633 F.2d 282, 288 (3d Cir. 1980) (“need" is

construed strictly by the courts, and it never sufficient to merely show that the material sought is

relevant).

       Here, the defendant cannot show substantial need for these materials because they are

irrelevant to Mr. Piccione’s testimony as described above, because they are draft documents,

and because the defendant has had access for at least two years to the bank records upon which




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the draft spreadsheets are based, and could have conducted his own analyses of these records. 5 In

addition, the defendant has known for almost six months about the government’s forfeiture

theory for all of the specific properties, including Properties #14 and #15, which are the subject

of the analyses in paragraphs 8-16 of the Piccione affidavit. During the many months following

notice of the government’s forfeiture theory, he could have analyzed the deposits into the HCC

Accounts reflected in the draft spreadsheets he now seeks.

       Where alternative means exist at getting the work-product information sought, substantial

need is lacking. Castle v. Sangamo Weston, Inc., 744 F.2d 1464, 1466-67 (11th Cir. 1984)

(district court abused discretion in compelling production where there was no demonstration that

the party could not have obtained the information by alternative means). 6 In re Grand Jury

Proceedings (Duffy), 473 F.2d 840, 849 (8th Cir. 1975) (allowing disclosure of list of witnesses,

but refusing disclosure of attorney's summary of their testimony where the witnesses "were

known and accessible to the grand jury")

       In addition, the draft spreadsheets are significant work-product in that they were created

by an experienced financial analyst over a period of time and cover years of financial

transactions for four HCC corporate accounts. United States v. Amerada Hess Corp., 619 F.2d

980 (3d Cir. 1980) (the substantive content of the materials is a factor in determining whether the




       5
               The government has not sought protection of the bank statements upon which the
spreadsheets are based. Indeed, these were provided in discovery to the defendant years ago, and
have been moved into evidence mostly during the main trial, and partly during the forfeiture
hearing. The work product doctrine does not protect the discovery of underlying facts. ECDC
Evel. LC v. New York Marine & Gen. Ins. Co., 1998 U.S. Dist. LEXIS 8808, at *44 (S.D.N.Y.
June 4, 1998).
        6
               Substantial need must be greater if it is opinion evidence. Upjohn Co. v. United
States, 449 U.S. 383, 400-402 (1981). The materials in question are undoubtedly protected work
product, but are not opinion evidence.


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doctrine can be overcome). Appeal of Hughes, 633 F.2d. at 289 ("the production of a mere list of

persons interviewed” requires a comparatively low showing of need). Under the circumstances

here, the defendant can show no need for these materials which can overcome the protection of

the doctrine.

IV.    THERE WAS NO WAIVER BY MR. PICCIONE DURING HIS TESTIMONY

       The defendant claims that the protection of the doctrine was waived during Mr.

Piccione’s testimony, and accordingly, the spreadsheets should be produced. No such waiver

occurred and the materials remain protected. 7

       The privilege afforded by the work-product doctrine is not absolute and it can be waived

by the party to whom it offers protection. Nobles, 422 U.S. at 239. For example, the privilege

can be waived by disclosing protected information to an adversary. Westinghouse Elec. Corp.,

951 F.2d at 1428. Waiver can also occur when a party makes testimonial use of material that

might otherwise be protected. Nobles, 422 U.S. at 239. By presenting an attorney or agent as a

witness, a party waives the protection for matters that are covered in that witness’ testimony. Id.

at 239-40.

       Mr. Piccione’s testimony did not rely on the draft spreadsheets, and therefore, no waiver

occurred. He repeatedly testified on cross examination that his determination that Property #14,

the Morgan Stanley account #1206, and Property #15, the Bank of America account #2476,

contained enterprise property or funds, was based on the direct flow of property or funds from

enterprise business accounts, including the HCC Accounts, into Morgan Stanley #1206 and Bank

of America #2476. 4/4/18 Tr. at 90 (lines 9-13), 96 (lines 6-25), 97 (all), 98 (lines 1-10), 99




       7
              The defendant through counsel made his position known during a telephone
conference with the Court on April 10, 2018.
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(lines 9-25), 100 (lines 1-8), 107 (lines 8-14). Further, his affidavit which constituted his direct

testimony clearly states this. Gov Exh. #2500 at paragraphs 8-16.

       He was asked by counsel on cross-examination, if he looked at the flow of enterprise

proceeds into the HCC Accounts, and he answered yes. 4/4/16 Tr. at 100. 8 Subsequently, Mr.

Piccione was asked about the flow out of the accounts, and he stated that he had completed that

analyses as well. 4/4/18 Tr. 110. Immediately following this exchange, Mr. Jacobs asked Mr.

Piccione whether he had used that information to reach “a conclusion that the entire balance was

enterprise funds?” Mr. Piccione replied, “Yes,” and Mr. Jacobs then asked for the records to be

produced.

       This record is confusing and unclear as to what balance and what accounts counsel was

referring to during this line of questioning. The questions preceding these questions pertained to

the flow of enterprise funds out of the Morgan Stanley #1206 to Bank of America #2476, another

personal account (and then were immediately followed by objections and argument by the

parties). The record does not establish that Mr. Piccione relied on the draft spreadsheets for his

determinations about Morgan Stanley #1206 and Bank of America #2476, and accordingly, there

has been no clear waiver.

       The Nobles case is particularly instructive here. In that case, the defense offered

testimony by an investigator with the purpose of undermining the eyewitness identification of

government witnesses. Nobles, 422 U.S. at 232-233. The investigator was to testify that he

conducted interviews of several witnesses as to their eyewitness identification and that he knew

based on these interviews that there were discrepancies between the in court identifications and




       8
               Given counsel’s reliance on Gov. Exh. #500E for this line of questioning, it is
clear he was referring to proceeds of the HPDLE.
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those made prior to trial. Id. As part of his investigation, the investigator documented his

findings and conclusions in a report. Id. The Court ruled that the investigator’s report of his

findings and conclusions was “highly relevant to the critical issue of credibility” because the

investigator was to contrast his recollection of the interview statements (which were contested)

with the testimony by the prosecution’s witnesses at trial. Id. at 232, 239. Accordingly, it was not

protected work-product. Id. at 239. See also, United States v. Purcell, 667 F.Supp.2d 498 (E.D.

Pa. 2009) (In a § 2255 habeas corpus hearing, the government attorneys-witnesses’ testimony on

the reasons for filing an §851 Information in the criminal prosecution placed their thought

processes and litigation strategy at issue, and therefore, disclosure of memoranda and other

writings concerning plea discussions or the filing of a §851 Information was required).

       The instant situation is far different than the Nobles scenario. The record demonstrates

that there was confusions as to what counsel was asking, and what Mr. Piccione was answering.

Further, from the entire record, it is clear that Mr. Piccione did not rely on the spreadsheets for

his determinations in paragraphs 8-16 of his affidavit, and that he did not waive the work-product

protection during his testimony.

V.     THE FLOW OF FUNDS INTO THE HCC ACCOUNTS ARE NOT RELEVANT
       TO THE FORFEITABILITY OF ANY SPECIFIC PROPERTY OR TO THE
       MONEY JUDGMENT

       The defendant claims that the spreadsheets of the inflow of enterprise proceeds into the

HCC Accounts, are central to the forfeiture issues before the Court. 9 This is simply not true. As

described above, the draft spreadsheets are irrelevant to the government’s theory of the

forfeitability of the funds in the Morgan Stanley account #1206 or the Bank of America account



       9
              The defendant through counsel made his position known during a telephone
conference with the Court on April 10, 2018.

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#2476. Further, the extensive briefings filed by both parties demonstrate that the draft

spreadsheets, and the information within them, are not relevant to the determination of the

money judgment. None of the submissions by either side rely on any analysis of the flow of

enterprise proceeds into the HCC Accounts.

VI.    THIS COURT MAY CONDUCT AN IN CAMERA REVIEW OF THE
       SPREADSHEETS

       The government is prepared to submit the spreadsheets to this Court for an in camera

review to determine whether they are relevant, work-product, and should be produced. See, In re

Murphy, 560 F.2d 326, 336 n.20 (8th Cir. 1977); In re Grand Jury Proceedings (Sutton),

658 F.2d 782, 784 (10th Cir. 1981).

VII.   CONCLUSION

       Wherefore, the government respectfully requests that this Court preclude the production

of the draft spreadsheets because they are protected work-product and irrelevant to Mr.

Piccione’s testimony and the government’s forfeiture theories.



                                              Respectfully submitted,

                                              WILLIAM M. McSWAIN
                                              United States Attorney


                                              s/Sarah L. Grieb
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                                              Assistant United States Attorney
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                                              s/Maria M. Carrillo
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                                              Assistant United States Attorneys



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                                CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Motion to Preclude Disclosure of Work-product

was served by electronic filing on:

                              Edward Jacobs, Esquire
                              Michael Rosensaft, Esquire
                              Andrew Stutzman, Esquire
                              Counsel for Charles Hallinan




Date: April 11, 2018

                                            s/Maria M. Carrillo
                                            MARIA M. CARRILLO
                                            Assistant United States Attorney




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